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1     Charles Nichols
      PO Box 1302
2     Redondo Beach, CA 90278
3     424-634-7381
      Plaintiff in Pro Per
4
5
6
7
8
                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11    Charles Nichols,                             Case No.: 2:11-cv-09916 SSS(KES)
12                 Plaintiff,
13          vs.                                    PLAINTIFF'S OPPOSITION TO
14    Gavin Newsom (California Governor);          DEFENDANTS’ MOTION FOR
15    Rob Bonta (California Attorney               SUMMARY JUDGMENT
16    General), in their official capacity.        Judge: The Honorable Sunshine S.
17                 Defendants.                     Sykes
18                                                 Magistrate Judge: The Honorable
19                                                 Karen E. Scott
20                                                 Trial Date: None set
21                                                 Action Filed: 11/30/2011
22
23
24
25
      Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Attorney General
26
      Bonta and Governor Newsom are automatically substituted as defendants in this
27
      matter in place of their predecessors.
28

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1                                          Introduction
2     Plaintiff seeks to enjoin the enforcement by Defendants Newsom and Bonta, their
3     officers, agents, servants, employees, and all persons acting in concert with them
4     who receive actual notice of the injunction of California Penal Code sections
5     171.5, 171.7, 626.9, 25850, 26350, 26400, 26150, 26155, 26162, 26165, 26170,
6     26175, 26180, 26185, 26190, 26200, 26202, 26205, 26210, 26215, 26220, 26230,
7     and all other California laws that infringe on his Second Amendment right to
8     openly carry, possess, and transport loaded and unloaded rifles, shotguns, and
9     handguns, intrastate and interstate, and all of the licensing requirements restrictions
10    and prohibitions on Plaintiff obtaining a license to openly carry firearms, as well as
11    the restrictions and prohibitions on Plaintiff openly carrying firearms were he to be
12    issued a license to openly carry firearms, except for the prohibition on issuing a
13    license to those prohibited by Federal law from possessing firearms (i.e., PC26195)
14    which does not apply to Plaintiff, or the laws as they apply to concealed carry or
15    assumed sensitive places, such as schools and government buildings (the
16    challenged laws have no application in these places). Plaintiff also seeks
17    declaratory relief, including declaratory relief that he is licensed by the State of
18    California to openly carry rifles, shotguns, and handguns it is legal for him to
19    possess under state and Federal law in his home, loaded and unloaded, statewide,
20    and in the curtilage of his home, on his private residential property, his place of
21    sojourn, in and on his motor vehicle, and in all non-sensitive public places, in case
22    of confrontation, for the purpose of self-defense, and for other lawful purposes.
23
24    Plaintiff challenges the requirement of a license to openly carry firearms, in and of
25    itself, as well as the prohibition on his transportation of unloaded firearms, which
26    he is entitled to do pursuant to 18 U.S. Code § 926A and the Second Amendment
27    to the United States Constitution which section 626.9(c)(2)(a) prohibits Plaintiff
28    from doing. The Defendants (“the State”) argues, contrary to state law and the

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1     Second Amendment that merely openly carrying a firearm or the mere sight of a
2     firearm is threatening, terrorizing, or rude. Plaintiff seeks a declaration that openly
3     carrying a firearm does not violate California Penal Code section 417, which
4     criminalizes the carrying or display of a firearm in a rude or threatening manner,
5     except in self-defense. If declaratory relief is unavailable against any and all laws,
6     then he seeks to prospectively enjoin its enforcement as well.
7
8                                         Background
9     California law prohibits Plaintiff from carrying loaded and unloaded rifles,
10    shotguns, and handguns in the curtilage of his home, on his private residential
11    property, in and on his motor vehicle, and in all non-sensitive public places, in case
12    of confrontation, for the purpose of self-defense, and for other lawful purposes, in
13    violation of the Second Amendment to the United States Constitution which is, in
14    turn, a violation of the Fourteenth Amendment to the United States Constitution.
15
16    California law prohibits Plaintiff from obtaining a license to carry a handgun,
17    openly or concealed. Plaintiff does not seek a concealed carry license. Plaintiff
18    does not seek to carry a concealed weapon for any purpose, anywhere. Under
19    California law, an unloaded handgun in a fully enclosed locked container is not a
20    violation of California’s statewide prohibition on concealed carry (PC25400).
21
22    Concealed carry is an act of moral turpitude. Absent a license to carry a handgun
23    concealed, it is a crime of moral turpitude under California law. Although there
24    were 19th-century exceptions for travelers while on a journey, allowing the
25    carrying of concealed weapons, there is no travelers’ exception under California
26    law. Plaintiff seeks an unrestricted license to openly carry a handgun (excluding
27    schools and government buildings), and to enjoin Governor Newsom and Attorney
28    General Bonta, in their official capacity, from enforcing California laws that

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1     infringe on Plaintiff’s Second Amendment right to openly carry loaded and
2     unloaded rifles, shotguns, and handguns in the above-mentioned places, in case of
3     confrontation, for the purpose of self-defense, and for other lawful purposes.
4     California law does not provide for the licensed carrying of loaded and unloaded
5     long guns (e.g., rifles and shotguns) that would allow Plaintiff to openly carry a
6     loaded or unloaded long gun, in case of confrontation, for the purpose of self-
7     defense, and for other lawful purposes, anywhere in the State of California,
8     including the above-mentioned places.
9
10    When this action was filed on November 30, 2011, it was legal for Plaintiff to
11    openly carry unloaded long guns, and unloaded handguns, and unloaded handguns
12    in a fully enclosed locked container. The State of California then banned the Open
13    Carry of unloaded handguns and long guns (excluding unloaded antique firearms
14    as antique firearms are defined by Federal law).
15
16    Plaintiff filed his operative Second Amended Complaint (“SAC”) Dkt. No. 83,
17    which was amended to enjoin the enforcement of California’s bans on openly
18    carrying unloaded firearms, in case of confrontation, for the purpose of self-
19    defense, and for other lawful purposes. Plaintiff also sought declaratory relief.
20
21    After his SAC was filed, California law was amended to remove the exception for
22    licensed handgun holders, issued pursuant to California Penal Code sections 26150
23    et seq., to carry handguns, openly or concealed, in schools and on the grounds of a
24    public or private school (places Plaintiff excluded in his SAC). California law
25    prohibiting the Open Carry of unloaded long guns was extended to apply statewide
26    instead of just incorporated cities. The statewide ban on openly carrying unloaded
27    long guns does not apply inside of a motor vehicle. Plaintiff resides in an
28    incorporated city. In addition to handguns (antique and modern), State law

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1    prohibits Plaintiff from openly carrying loaded and unloaded long guns (except
2    unloaded antiques), in the curtilage of his home, on his private residential property,
3    and in all non-sensitive public places, in case of confrontation, for the purpose of
4    self-defense, and for other lawful purposes.
5
6    On January 1, 2024, California law was amended to prohibit Plaintiff from
7    obtaining a license to carry a handgun, openly or concealed, in Senate Bill 2
8    (“SB2”). SB2 amended California Penal Code section “PC” 626.9 to prohibit
9    Plaintiff from transporting his handguns, unloaded, in a fully enclosed locked
10   container from his home to his vehicle parked on the street. PC626.9 was amended
11   to prohibit unloaded handguns in a fully enclosed locked container from being
12   carried or transported, except when within a motor vehicle at all times.
13
14   In Plaintiff’s Prayer for Relief at “R” he sought “A Declaration that no license is
15   required to openly carry a firearm for the purpose of self-defense.” That PFR
16   applies to all non-sensitive public places, including the 1,000-foot “gun-free”
17   school zones that extend from every public and private school.
18
19   In Plaintiff’s supplemental brief on appeal, he put the State on notice that “When
20   SB-918 becomes law, it will be a crime for Plaintiff to simply transport any
21   firearm, be it handguns or long guns, modern or antique, loaded or unloaded,
22   through a California Gun-Free School Zone. And that prohibition extends to
23   interstate travel which violates 18 U.S. Code § 926A - Interstate transportation of
24   firearms.” Court of Appeals No. 14-55873 ECF #130 at page 2, ¶3.
25
26   SB-918 narrowly failed to reach the 2/3 vote in the Senate, which is required for
27   “emergency legislation.” After SB-918 failed, the Defendants sponsored and
28   helped write SB2 the following year, which became effective on January 1, 2024.

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1    PC 626.9 was amended to prohibit Plaintiff from transporting his handguns (loaded
2    or unloaded, antique and modern), in a fully enclosed locked container outside the
3    doors to his home, in violation of the Second Amendment and Federal law. There
4    is no parking on Plaintiff’s residential property. Plaintiff parks his vehicle on
5    public streets.
6
7    Defendants were again given notice on April 20, 2023, that Plaintiff was
8    challenging PC626.9 in Plaintiff’s answer to the State’s First Set of Interrogatories.
9    Plaintiff explicitly stated that he was challenging PC 626.9 in his answer, as well
10   as the loaded and unloaded Open Carry bans, and all of the licensing statutes.
11
12   The Defendants’ argument that Plaintiff does not challenge California Penal Code
13   section (“PC”) 626.9, is false. Plaintiff did not explicitly seek to enjoin
14   enforcement of PC626.9 in his SAC, but he did ask for an application and a license
15   to openly carry a handgun but was denied SAC ¶¶46-47. Nichols’ Decl. at 89.
16
17   A license to openly carry a handgun would have allowed Plaintiff to openly carry a
18   loaded and unloaded handgun in the curtilage of his home, on his private
19   residential property, in and on his motor vehicle, and within 1,000 feet of every K-
20   12 public and private school (but not in schools or on school grounds), in case of
21   confrontation, for the purpose of self-defense, and for other lawful purposes,
22   without being in violation of PC626.9.
23
24   The state license is also an exemption to the Federal law 18 USC §922(q)(2).
25
26   Moreover, and not forgetting that since Plaintiff is pro se, his pleadings must be
27   liberally construed (Stanard v. Dy, 88 F. 4th (9th Cir. 2023) at footnote 4).
28   Fed.R.Civ.P. 54(c) does not preclude Plaintiff from seeking prospective injunctive

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1    and declaratory relief against PC 626.9 or any other law. "[E]very final judgment
2    shall grant relief to which the party in whose favor it is rendered is entitled, even if
3    the party has not demanded such relief in its pleadings."...” Seven Words LLC v.
4    Network Solutions, 260 F. 3d 1089, 1096 (9th Cir. 2001).
5
6    Plaintiff is entitled to keep and bear arms on his private residential property, in and
7    on his motor vehicle, in all non-sensitive places within and without the State of
8    California, in the United States, and to transport those firearms interstate pursuant
9    to Federal law.
10
11   SB2 amended other provisions of California law after his SAC was filed to prohibit
12   Plaintiff from openly carrying loaded and unloaded rifles, shotguns, and handguns
13   in the very same non-sensitive places it was legal for him to openly carry (and
14   transport) unloaded firearms (without a license), and would have allowed Plaintiff
15   to openly carry loaded firearms, excluding handgun, within 1,000 feet of public
16   and private schools which requires a license, and Plaintiff seeks an unrestricted
17   Open Carry license to openly carry firearms in those now prohibited places.
18
19   Licensed and unlicensed hunters are exempt from California’s bans on openly
20   carrying loaded and unloaded firearms. A hunting license is required for hunters
21   to openly carry a firearm in places where hunting is prohibited. Hunters are
22   required to have a license issued pursuant to PC26150 et seq. to carry a handgun
23   (loaded or unloaded) within 1,000 feet of every K-12 public or private school.
24   PC626.9 does not prohibit hunters or Plaintiff from carrying loaded or unloaded
25   long guns within these 1,000-foot “gun-free” school zones. However, SB2
26   amended California law to prohibit Plaintiff, as well as hunters), from possessing,
27   transporting, and carrying all firearms (including antiques) if they have a license to
28   carry a handgun (openly or concealed) issued pursuant to PC26150 et seq.

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1    Prospective Injunctive and/or Declaratory relief against PC 626.9 and every other
2    law that infringes on Plaintiff’s Second Amendment rights and/or in violation of
3    Federal law is appropriate (Plaintiff’s Prayer for Relief at X).
4
5    In short, the only firearms Plaintiff is able to carry without violating California law
6    are unloaded antique long guns, unless he has a license to carry a handgun, openly
7    or concealed, in which case he can neither carry nor possess them or any modern
8    firearm in nearly every populated place, and in many scarcely populated places.
9
10   The State’s claim that “Plaintiff voluntarily dismissed all defendants except the
11   Attorney General. ECF No. 125” is false on its face. Only the Redondo Beach and
12   Doe Defendants were dismissed (and without prejudice). Plaintiff explicitly stated
13   in his notice of appeal (ECF168) that he was appealing the dismissal of the
14   Governor “and all interlocutory orders, including, but not limited to, those that
15   gave rise to the district court’s judgment.” In his opening brief, Plaintiff explicitly
16   raised and argued the dismissal of the governor. The Court of Appeals did not
17   affirm the dismissal of the Governor or affirm anything else.
18                                         Argument
19   California’s Open Carry bans are statewide bans.
20
21   “A district court should not try to help the government carry its burden by
22   "sift[ing] ... historical materials" to find an analogue. Id. at 2150. The principle of
23   party presentation instead requires the court to "rely on the parties to frame the
24   issues for decision." Baird v. Bonta, 81 F. 4th 1036, 1041 (9th Cir. 2023)
25
26   The State’s argument in their defense is both Orwellian and Kafkaesque.
27
28   The Defendants make multiple fatal errors. First and foremost, the State failed to

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1    argue that the Open Carry bans are constitutional as-applied to Plaintiff as
2    alleged in his operative complaint. SAC¶¶8-13, 36, 42-43, 45-47, 49-52, 54, 57-
3    58, 62-69, 84-85, and Plaintiffs Prayer for Relief. Nichols’ Decl. at 90.
4
5    Nor did the Defendants argue that the bans are constitutional as-applied to Plaintiff
6    and similarly situated individuals. The State made no mention of Plaintiff’s as-
7    applied challenges anywhere in its argument. Instead, the State limited its
8    argument to a "no set of circumstances" defense of a facial challenge—a facial
9    challenge Plaintiff never made and does not make now. The Governor did not join
10   in the State’s motion for summary judgment. The deadline for the Governor to
11   join or to file a separate dispositive motion has passed.
12
13   The State posits “public safety” as the reason for banning Open Carry. Open Carry
14   enhances public safety because a weapon openly carried allows the weapon bearer
15   to defend himself while at the same time giving fair notice to those around him that
16   he is armed so they may govern themselves accordingly. People v. Mitchell, 209
17   Cal. App. 4th 1364, 1371 (2012).
18
19   Absent from the State’s evidence is proof that Open Carry presents a danger to the
20   public. It is an easy case to make that concealed weapons account for nearly all
21   homicides. The Raney “expert witness” report is a fantasy about police officers
22   going around murdering people who openly carry firearms. As Open Carry is
23   prohibited in only a handful of states, if this were true, then the evidence of these
24   murders would be voluminous. There is no evidence of these widespread murders
25   in the record! Moreover, police officers are agents of the state. The state does not
26   have a Second Amendment right. If police officers are murdering people for
27   exercising a fundamental, enumerated Constitutional right, then the solution is to
28   disarm the police.

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1    “In keeping with Heller, we hold that when the Second Amendment's plain text
2    covers an individual's conduct, the Constitution presumptively protects that
3    conduct. To justify its regulation, the government may not simply posit that the
4    regulation promotes an important interest. Rather, the government must
5    demonstrate that the regulation is consistent with this Nation's historical tradition
6    of firearm regulation. Only if a firearm regulation is consistent with this Nation's
7    historical tradition may a court conclude that the individual's conduct falls outside
8    the Second Amendment's “unqualified command.”” New York State Rifle & Pistol
9    Assn, Inc. v. Bruen, 597 US 1, 17 (2022) “Bruen.”
10
11   “[T]he Second Amendment extends, prima facie, to all instruments that constitute
12   bearable arms, even those that were not in existence at the time of the founding.”
13   Id at 28.
14
15   The only arms at issue are rifles, shotguns, and handguns that are legal for Plaintiff
16   to possess under both California state and Federal law. These are bearable arms, in
17   common use for the purpose of self-defense, which existed at the time of the
18   founding and exist today.
19
20   Not forgetting that Bruen at 28 held that all protected arms, including firearms
21   (including handguns) regardless of their overall length, are arms Plaintiff has the
22   right to keep in bear in and about his home and in densely populated places, the
23   burden is on the State to prove that Plaintiff does not have the right to keep and
24   bear loaded and unloaded rifles, shotguns, and handguns in the curtilage of his
25   home, on his private residential property, in and on his motor vehicle, and in all
26   non-sensitive public places.
27
28   The Defendants argue that the burden is on Plaintiff to prove that he has the right

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1    to keep and bear arms in these places. Bruen unequivocally held that when the
2    plain text of the Second Amendment covers Plaintiff’s conduct, the burden of
3    proof is on the government. Id at 17-31.
4
5    Nowhere in the plain text of the Second Amendment does it state that Plaintiff
6    does not have the right to keep and bear arms firearms in the curtilage of his home,
7    on his private residential property, in and on his motor vehicle, and in all non-
8    sensitive public places. Nowhere does the plain text state that Plaintiff must have a
9    license, let alone a license that does not exist either for handguns or long guns.
10
11   Bruen did not hold or imply that licenses can be required for Open Carry, let alone
12   that Open Carry can be banned when Open Carry licenses are non-existent or
13   because concealed carry is allowed. In footnote 9 Bruen implied that licenses can
14   be required for concealed carry, which is not surprising given District of Columbia
15   v. Heller, 554 US 570,626 (2008) and Bruen at 54 held only concealed carry can
16   be prohibited.
17
18   Plaintiff did not challenge the background check requirement. SAC¶85. Not
19   because background checks are constitutional, but because he does not want gang
20   members, violent felons, wife beaters, drunkards, the mentally ill, etc., to be
21   allowed to possess, let alone carry firearms, should he ultimately prevail in his
22   action. Nichols’ Decl. at 91.
23
24   A license has always been Plaintiffs alternative (Nichols Decl. at 91) in case he
25   was unable to obtain unlicensed Open Carry SAC¶85. The State has not proven a
26   national tradition of requiring a license to openly carry rifles, shotguns, and
27   handguns within 1,000-feet of K-12 schools or anywhere. For that matter, the
28   State has not proven that there was a national tradition of licensing concealed

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1    carry. Either issue an Order for Plaintiff to receive an unrestricted license to
2    openly carry a handgun, issue a declaration that he is licensed by the State of
3    California, or enjoin enforcement of California’s “gun-free” school zones or do all
4    of the above. This relief is within the scope of Plaintiff’s operative complaint and
5    the relief this Court can grant.
6
7    The State has already conducted a background check on Plaintiff SAC ¶48.
8    Nichols’ Decl. at 92. Indeed, because most of Plaintiff’s handguns are recorded in
9    the Attorney General’s Dealer Record of Sale database, the State conducts a
10   continuous background check on Plaintiff. The State identifies prohibited persons
11   "by cross-referencing the Consolidated Firearms Information System ("CFIS")
12   database of people who possess a firearm, which is generated primarily through
13   DROS reporting, against criminal records, domestic violence restraining order
14   records, and mental health records." Bauer v. Becerra, 858 F. 3d 1216, 1219-1220
15   (9th Cir, 2017). Nichols’ Decl. at 92.
16
17   Notwithstanding that Plaintiff, decades ago, took a California hunter safety class,
18   and an Oregon state-mandated safety class to obtain his license to openly carry
19   loaded firearms in the half-dozen home-rule cities in Oregon that required openly
20   carried firearms to be carried unloaded, a safety course does not allow, and is not
21   required for, Plaintiff to possess, transport, or openly carry loaded and unloaded
22   firearms. Bruen did not hold that Plaintiff’s Second Amendment right is
23   conditional on his taking a firearms safety class or complying with any of the
24   licensing requirements.
25
26   The State is fond of citing concurrences. This Circuit does not consider
27   concurrences unless the Supreme Court opinion is fractured. Absent fractured
28   opinions, the majority opinion is controlling. US v. Davis, 825 F. 3d 1014--1017

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1    (9th Cir. 2016). And even then, only on the “narrowest grounds on which a
2    majority of the justices agreed” Id at 1016.
3
4    The State opens its argument by intentionally omitting the well-pleaded and argued
5    facts that there are no licenses available by which Plaintiff can openly carry any
6    loaded or unloaded firearm or that the Defendants intentionally amended
7    California law to prohibit Plaintiff from obtaining a concealed carry license or to
8    possess any handgun outside the doors to his home or that he pleaded that he asked
9    for both an application and license to openly carry a handgun SAC¶¶46-47(which
10   Defendant Bonta still has not provided to anyone), and was denied solely because
11   no licenses exist for anyone, including Plaintiff, who resides in a county of
12   200,000 or more people. There is no evidence the State has granted any Open
13   Carry licenses in the record. Nichols’ Decl. at 93.
14
15   Plaintiff is the master of his Complaint, not the Defendants and not this Court.
16   Baird Supra.
17
18   As Plaintiff explained in his mandatory meet and confer with the state’s attorney,
19   Plaintiff challenged the licensing laws and the requirement for a license in the
20   unlikely event that California removed the prohibitions on his obtaining a license
21   to openly carry a handgun or a Court enjoined those prohibitions and restrictions.
22   Those prohibitions remain.
23
24   The State’s argument that it can require licensed Open Carry but then prohibit
25   Plaintiff from openly carrying loaded and unloaded firearms because no licenses
26   exist is analogous to the sole remaining Plaintiff in District of Columbia v. Heller,
27   554 US 570 (2008), “Heller.” Except that, Dick Heller was able to apply for a
28   registration certificate for a handgun to keep in his home and was denied. Id at 575.

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1    Unlike Dick Heller, it is impossible for Plaintiff to even apply for a license to carry
2    a handgun, openly or concealed, and no licenses are provided by statute for
3    Plaintiff to openly carry a long gun, in case of confrontation, for the purpose of
4    self-defense. Dick Heller, unlike Plaintiff, was able to openly carry loaded and
5    unloaded firearms in public, including a handgun.
6
7    In addition to Plaintiff’s as-applied challenges, Plaintiff raised a very narrow facial
8    challenge. Contrary to circuit precedent (Jackson v. City and County of San
9    Francisco, 746 F. 3d 953, 961-962 (9th Cir. 2014)), which held that Plaintiffs can
10   bring both facial and as-applied challenges under the Second Amendment, the
11   District Court in its final judgment held that Plaintiff could not challenge the bans
12   as they apply to him, or allow him to make his narrow facial challenge.
13
14   The District Court expanded Plaintiff’s narrow facial challenge into a “no set of
15   circumstances” challenge. This issue was distinctly raised, and argued extensively
16   on appeal. The Court of Appeals vacated the judgment and all orders of the district
17   court in full.
18
19    Given that the Defendants have waived defending Plaintiff’s as-applied
20   challenges, Plaintiff is entitled to a permanent injunction and declaratory relief
21   against California’s Open Carry bans. And so are those who are similarly situated
22   to Plaintiff.
23
24   The Defendants have not identified even a single application of California’s Open
25   Carry bans that is constitutional as-applied to anyone, including plaintiff, let alone
26   a set of circumstances where the laws do not violate the Second Amendment.
27
28   Persons who are prohibited from possessing firearms cannot be punished for

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1    violating California’s bans on carrying firearms (openly or concealed) under
2    California law pursuant to the California Supreme Court opinion in People v.
3    Jones, 278 P. 3d 821, 352 (2012).
4
5    California’s Open Carry bans do not apply to sensitive places, and the Defendants
6    have long since conceded this in their answering brief on appeal.
7
8    No license to carry a handgun, openly or concealed, can be issued to anyone in
9    California who is prohibited by state or Federal law from possessing firearms.
10   Although Federal law does not apply to antique firearms, and under Federal law
11   otherwise prohibited persons can be licensed to carry modern rifles, shotguns, and
12   handguns. California law prohibits prohibited persons from possessing firearms
13   and being licensed.
14
15   Plaintiff is not prohibited from possessing any firearms under state or Federal law,
16   and as a person who is not prohibited from possessing firearms, Plaintiff does not
17   challenge that prohibition, or any prohibition on the keeping and bearing of arms
18   by prohibited persons, or any California law that applies to concealed carry. This
19   is, has always been, and will always be a pure Open Carry lawsuit.
20
21   The only persons who can be punished for possessing, carrying, and transporting
22   firearms by the California State laws Plaintiff seeks purely prospective injunctive
23   and declaratory relief against are persons, including Plaintiff, who have the right to
24   keep and bear arms protected by the Second Amendment, in places protected by
25   the Second Amendment, while keeping and bearing firearms protected by the
26   Second Amendment, who commit no crime other than the “crime” of keeping and
27   bearing arms protected by the Second Amendment in places protected by the
28   Second Amendment while engaged in Second Amendment protected conduct.

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1    To the extent the Defendants might contrive an application, that application would
2    be a lesser included offense to which California law also prohibits punishment. In
3    any event, the bans punish only constitutionally protected conduct. To “punish the
4    mere use, carriage, or possession of a firearm…would run afoul of the Second
5    Amendment.” US v. Cureton, 739 F. 3d 1032, 1043 (7th Cir. 2014).
6
7    District of Columbia v. Heller, 554 US 570 (2008), “Heller” McDonald v. City of
8    Chicago, Ill., 561 US 742 (2010) “McDonald”, and New York State Rifle & Pistol
9    Assn, Inc. v. Bruen, 597 US 1 (2022) “Bruen” facially invalidated the challenged
10   laws because when a law punishes only constitutionally protected conduct, the law
11   is facially invalid. Accord, Lara v. COM'R PENNSYLVANIA STATE POLICE, 91
12   F. 4th 122, 139 (3rd Cir. 2024) (enjoining the enforcement of a ban on 18-to-20-
13   year-olds from openly carrying loaded and unloaded, rifles, shotguns, and
14   handguns outside their homes during a state of emergency, but denying them
15   licenses which would have allowed them to carry handguns concealed (cert
16   petition No. 24-93) pending sub nom Christopher Paris, Commissioner,
17   Pennsylvania State Police, Applicant v. Madison M. Lara, et al.). Similarly, Worth
18   v. Jacobson, (No. 23-2248, 8th Cir. July 16, 2024) Slip Op at pages 5, and 27
19   affirmed the district court decision that facially invalidated a Minnesota law that
20   prohibited 18-20 year-olds from obtaining a license to carry a handgun in public
21   (openly and concealed) which, in turn, exempts them from the state’s general
22   prohibition on openly carrying loaded long guns in public. As such, Plaintiff is
23   entitled to prevail on his narrow facial claim as well as the State’s contrived facial
24   claim.
25
26   Prior to Bruen, the 7th Circuit Court of Appeals enjoined the Illinois bans on openly
27   carrying loaded and unloaded rifles, shotguns, and handguns in incorporated cities,
28   towns, and villages. As per Heller, the Court held that Illinois could prohibit

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1    concealed carry. “[A] state may be able to require “open carry”—that is, require
2    persons who carry a gun in public to carry it in plain view rather than concealed.
3    See District of Columbia v. Heller, supra, 554 U.S. at 626” Moore v. Madigan, 702
4    F.3d 933, 938 (7th Cir. 2012). The D.C. Circuit Court of Appeals held that
5    Heller’s citation to State v. Chandler, 5 La.Ann. 489 (1850) “[S]hields a right to
6    open carry” and Heller’s citation to Nunn v. State, 1 Ga. 243, 251 (1846) held that
7    concealed carry can be prohibited, but Open Carry cannot be prohibited. Wrenn v.
8    Dist. of Columbia, 864 F.3d 650, 658 (D.C. Cir. 2017).
9
10   Given that neither this Court nor any Court of Appeals has the power or the
11   authority to overrule any United States Supreme Court binding precedent, the
12   State’s defense of California’s bans on the possession, transportation, and carrying
13   of firearms (openly) fails unless this Court holds that Bruen overruled the Open
14   Carry right in Heller.
15
16   “In Nunn v. State, 1 Ga. 243, 251 (1846), the Georgia Supreme Court construed the
17   Second Amendment as protecting the “natural right of self-defence” and therefore
18   struck down a ban on carrying pistols openly. Its opinion perfectly captured the
19   way in which the operative clause of the Second Amendment furthers the purpose
20   announced in the prefatory clause, in continuity with the English right:…
21
22    Likewise, in State v. Chandler, 5 La. Ann. 489, 490 (1850), the Louisiana
23   Supreme Court held that citizens had a right to carry arms openly: “This is the right
24   guaranteed by the Constitution of the United States, and which is calculated to
25   incite men to a manly and noble defence of themselves, if necessary, and of their
26   country, without any tendency to secret advantages and unmanly assassinations.”
27   Heller at 612-613.
28

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1    “Like most rights, the right secured by the Second Amendment is not unlimited.
2    From Blackstone through the 19th century cases, commentators and courts
3    routinely explained that the right was not a right to keep and carry any weapon
4    whatsoever in any manner whatsoever and for whatever purpose. See, e. g.,
5    Sheldon, in 5 Blume 346; Rawle 123; Pomeroy 152–153; Abbott 333. For
6    example, the majority of the 19th-century courts to consider the question held that
7    prohibitions on carrying concealed weapons were lawful under the Second
8    Amendment or state analogues. See, e. g., State v. Chandler, 5 La. Ann., at 489–
9    490; Nunn v. State, 1 Ga., at 251; see generally 2 Kent *340, n. 2; The American
10   Students’ Blackstone 84, n. 11 (G. Chase ed. 1884).” Heller at 626.
11
12   In over twelve and a half years of litigation, the State has never argued that any
13   place in which Plaintiff seeks to openly carry loaded and unloaded rifles, shotguns,
14   and handguns is a sensitive place. That includes the State’s motion for summary
15   judgment. The Defendants affirmatively waived any sensitive places defense in
16   this lawsuit in its answering brief on appeal (Court of Appeals No. 14-55873 ECF
17   #36-1, pages 2, 4, 6, and 12-13.
18
19   In the expectation that the State will, for the first time, argue a “sensitive places”
20   defense in their reply brief, and given that this is the only brief Plaintiff is allowed
21   to file, (Judge Sykes’ Civil Standing Order at page 17, ¶2 prohibits “cross motions
22   that seek to adjudicate the same legal issues.”) “[D]istrict court[s] need not
23   consider arguments raised for the first time in a reply brief.” Zamani v. Carnes,
24   491 F.3d 990, 997 (9th Cir. 2007) (citation omitted); see also FT Travel--New
25   York, LLC v. Your Travel Ctr., Inc., 112 F. Supp. 3d 1063, 1079 (C.D. Cal. 2015)
26   (“Courts decline to consider arguments that are raised for the first time in reply.”)
27   (collecting cases).
28

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1    During the 50-minute long, mandatory “meet and confer” the State did not
2    propound any facts, material or otherwise. In the State’s “Statement of
3    Uncontroverted Facts” ECF #206, the State raises 44 “uncontroverted facts.”
4
5    Plaintiff’s residence is undisputed. PC626.9 is disputed. The remaining “facts” are,
6    at best, conclusions of law and not relevant as to whether or not Bruen overruled
7    the right to openly carry loaded and unloaded rifles, shotguns, and handguns, in
8    case of confrontation, for the purpose of self-defense, outside the doors to
9    Plaintiff’s home from Heller at 592 which Bruen held extends to all non-sensitive
10   public places, including densely populated places at 27. Indeed, Heller at 626 only
11   presumed that the bearing of arms can be prohibited in sensitive places. Bruen
12   converted this rebuttable presumption into an assumption at 30-31. But none of
13   those presumed or assumed sensitive places are, or have ever been, at issue in this
14   lawsuit. If they are, then the burden of proof is on the government.
15
16   A license to carry a handgun (openly or concealed) does not allow the license
17   holder to carry (or possess) a handgun (or any firearm) in any school or
18   government building or courthouse or polling place, or legislative assembly.
19   Neither would enjoining the enforcement of the bans on openly carrying loaded
20   and unloaded firearms allow Plaintiff, or anyone, to possess, let alone carry any
21   firearm (openly or concealed) in any of these places because those places are
22   regulated by different laws.
23
24   For example, were a person to unlawfully carry a loaded firearm (openly or
25   concealed) in violation of PC25850 or an unloaded firearm in violation of
26   PC26350 or PC26400 into the Governor’s mansion, he would be committing a
27   felony in violation of PC171d and, therefore cannot be punished for violating
28   PC25850 or PC25850, or PC26400 pursuant to Jones, Supra. To the extent it could

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1    be construed as a lesser included offence, California law prohibits punishment for
2    lesser included offenses.
3
4    The State’s “facts’ are immaterial and irrelevant. To the extent that this Court
5    considers them and the “expert witnesses” to be relevant, Fed.R.Civ.P. 702 (as
6    amended) states that the admissibility of expert testimony is an issue for the judge
7    to decide, not a jury.
8
9    Plaintiff notes as well that Plaintiff demanded a copy of the transcript for him to
10   review both at the beginning of the deposition and at the end from both the State’s
11   attorney and the court reporter. Plaintiff was never provided with a copy of the
12   transcript or given the opportunity to purchase a copy of the transcript. When he
13   asked again at the end of the deposition, the court reporter responded to the effect
14   “Why are you asking me?” Plaintiff began the deposition by objecting to the
15   deposition. Nowhere in the transcript does his objection appear. Plaintiff made
16   countless objections that do not appear in the transcript. The transcript is not “true
17   and correct.”
18
19   Heller at 612-613 held that Open Carry is the right guaranteed by the Constitution,
20   and at 626 held that the 19th-century prohibitions on concealed carry do not violate
21   the Second Amendment. In so doing, Heller held that a series of District of
22   Columbia laws that prohibited the carrying of loaded rifles, shotguns, and
23   handguns “in and about” the home, the possession of modern, functional handguns
24   (D.C. did not ban non-functional antique handguns), and the requirement that
25   firearms be rendered non-functional (unloaded, disassembled, trigger locked)
26   violated the Second Amendment. McDonald applied the Second Amendment right
27   “recognized by Heller”, against all state and local governments at 791. At 786,
28   McDonald cited Heller at 626 (19th-century prohibitions on concealed carry do not

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1    violate the Second Amendment), as did Bruen at 21 and significantly at 52. The
2    three-justice dissent at 108, written by Justice Breyer, accepted the Open Carry
3    right from Heller as stare decisis.
4
5    Justice Alito, in his concurrence at 78, footnote 3, questioned whether the dissent’s
6    “approach would impose any significant restrictions on laws regulating long guns,”
7
8    New York State did not and does not prohibit the Open Carry of loaded and
9    unloaded long guns in public. No license was, or is, required. A New York
10   license to carry a handgun allowed one to carry the handgun concealed. The law
11   did not prohibit the handgun from being carried openly. The same license to carry
12   outside of the home for the purpose of self-defense is the same license the
13   petitioners had for target shooting and hunting. The same license is required for
14   employment-related conduct (Bruen at 12), such as by corrections officers and
15   armored car guards.
16
17   It was not until after Bruen was published did New York Governor Hochul issue
18   an edict that the handguns be carried concealed. That edict does not apply to
19   employment related carrying or to hunters and target shooters. There is no New
20   York State law that explicitly prohibits the Open Carry of a handgun, loaded or
21   unloaded.
22
23   The recent United States Supreme Court opinion in United States v. Rahimi, 602
24   U. S. ____ (2024) “Rahimi” again cited Heller at 626. (Slip Op. at 6 laws that
25   “forbade carrying concealed firearms.”). Justice Kavanaugh, in his concurrence,
26   cited Heller at 626 multiple times and gave as one of his examples, that Heller
27   indicated that: (i) “prohibitions on carrying concealed weapons were lawful…”
28   Slip Op. at 22.

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1    Although the State does not argue that Plaintiff is “irresponsible,” the Supreme
2    Court emphatically rejected the government’s argument that one “may be disarmed
3    simply because he is not “responsible.” Id at 17. Mr. Rahimi was certainly
4    irresponsible and violent, and dangerous to others but even he can only be
5    “temporarily disarmed.” Id at 17, whereas Plaintiff is permanently disarmed as
6    described above. Indeed, Rahimi recognized that the Second Amendment protects
7    the carrying of “muskets and sabers” (neither is concealable) Id at 7. Nowhere did
8    Rahimi hold that those muskets must be carried unloaded.
9
10   The State does not challenge the en banc holding in Peruta v. County of San Diego,
11   824 F. 3d 919, 942 (9th Cir. 2016) “that the Second Amendment does not protect,
12   in any degree, the carrying of concealed firearms by members of the general
13   public… If there is such a right, it is only a right to carry a firearm openly… If
14   there is a Second Amendment right of a member of the general public to carry a
15   firearm openly in public, and if that right is violated, the cure is to apply the
16   Second Amendment to protect that right. The cure is not to apply the Second
17   Amendment to protect a right that does not exist under the Amendment.”
18
19   Plaintiff does not challenge the en banc Peruta decision. As such, there is no live
20   case or controversy regarding Peruta’s holding, and this Court does not have the
21   authority to overrule an opinion of the Court of Appeals even if there were a live
22   case or controversy.
23
24   A post-Bruen, published opinion by the California Court of Appeals held, “Bruen
25   did not suggest that where a state bans both concealed and open carry (or all carry),
26   the concealed carry provisions are unconstitutional. Rather, Bruen quoted a
27   Georgia case explaining that to the extent a statute that prohibited concealed carry
28   also prohibited open carry, it was the open carry provision that conflicted with the

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1    Constitution and was void. (Id. at p. [142 S.Ct. at p. 2147], quoting Nunn v. State
2    (1846) 1 Ga. 243, 251.) This conclusion controls the outcome of this case.” And it
3    cited Peruta, People v. Miller, 94 Cal. App. 5th 935, 946 (2023). Defendant
4    Bonta could have appealed that ruling to both the California and United States
5    Supreme Courts. He did not. Judicial Estoppel applies to the Attorney General.
6
7    The State argues that Bruen and Rahimi held that so long as concealed carry is
8    allowed, the State can ban the keeping and bearing of all arms that are not
9    concealable, as well as handguns unless those handguns are carried concealed.
10   Neither Bruen nor Rahimi supports the State’s frivolous argument. An argument
11   belied by McDonald’s, Bruen’s, and Rahimi’s citations to Heller at 626, and
12   Bruen’s citation to Nunn at 54. The California Court of Appeals in Miller supra
13   relied on Bruen in holding that Open Carry is the right guaranteed by the Second
14   Amendment, and there is no right to concealed carry.
15
16   Including its motion and MPA for summary judgment, the State filed 1,994 pages
17   on July 24th. Entirely absent from those nearly 2,000 pages is any suggestion that
18   there was a historical tradition of the United States prohibiting Open Carry or
19   preferring concealed carry over Open Carry in 1791 or 1868, or even today.
20
21   What the filings indicate is that the keeping and Open Carry of long guns and
22   handguns that are not easily or ordinarily carried concealed are arms protected by
23   the Second Amendment. Legislatures and State high courts disagreed as to
24   whether or not small concealable handguns are arms protected by the Second
25   Amendment. Bruen ended that question. Handguns, regardless of whether they
26   are three-foot long Medieval handguns (Id at 43, fn. 10), President Thomas
27   Jefferson’s “Horseman’s Pistol” with a 22-inch long barrel, which he carried until
28   late in life, or “pocket pistols” small enough to fit in the palm of one’s hand are

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1    arms protected by the Second Amendment. Id at 48.
2
3    The State has not proved that there was a national tradition of requiring licenses to
4    openly carry loaded or unloaded firearms, let alone any of the requirements for
5    obtaining a license to openly carry a firearm.
6
7    The State wasted a lot of ink arguing that there is a national tradition of excluding
8    some persons and classes of persons from possessing firearms because Plaintiff
9    does not challenge California’s laws prohibiting the possession of firearms by
10   persons who have been convicted of certain crimes (PC29805). Nor can those
11   persons be punished for possessing or carrying loaded or unloaded firearms in
12   violation of PC 626.9, PC25850, PC26350, or PC26400. Jones Supra.
13
14   If Plaintiff were to be convicted of violating the challenged laws, he would lose his
15   right to possess firearms, antique and modern, for ten years pursuant to PC29805.
16   Not even the Federal law in Rahimi imposed such a draconian punishment on
17   persons convicted of a felony or state law misdemeanor punishable by more than
18   two years of confinement. Federal law allows those convicted persons to carry
19   loaded and unloaded antique firearms, as well as modern firearms, loaded and
20   unloaded, if licensed by the state. US v. Tait, 202 F. 3d 1320 , 1325 (11th Cir.
21   2000).
22
23   The State devotes the entirety of Section 2 of its MPA, making a 14th Amendment
24   equal protection argument independent of the Second Amendment. Putting aside
25   its frivolous argument that such claims involving fundamental rights are subject to
26   rational basis review instead of strict scrutiny, and not forgetting that Second
27   Amendment equal protection claims are evaluated under the Bruen methodology,
28   this Court does not have jurisdiction to decide any of Plaintiff’s claims that don’t

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1    have a Second Amendment nexus.
2
3    This was discussed in the meet and confer. Plaintiff said that the State was free to
4    waste its allowed page count if it wanted to, and it did. Plaintiff’s equal protection,
5    vagueness, and Fourth Amendment claims must be decided on Second Amendment
6    grounds consistent with Bruen. The Mandate Rule precludes this Court from
7    deciding any of Plaintiff’s claims other than on Second Amendment grounds,
8    consistent with Bruen. Bruen eliminated the tiers of scrutiny. “Today, we decline
9    to adopt that two-part approach.” Id at 17.
10
11                                        Conclusion
12   The Court should deny the State’s motion for summary judgment, allow Plaintiff to
13   file a proposed Order for final judgment, and grant him prospective injunctive and
14   declaratory relief as well as costs and attorney fees he expended in his more than
15   twelve and a half years of litigation.
16
17   Should this Court grant the State’s motion for summary judgment, it should, at a
18   minimum, permanently enjoin the Defendants from enforcing the amendment to
19   PC626.9 that prohibits Plaintiff from transporting his unloaded handguns in a fully
20   enclosed locked container out of his home and out of the state and back again
21   pursuant to Federal law.
22
23   Dated: August 21, 2024                                       Respectfully submitted,
24                                                                CHARLES NICHOLS
25
26                                                                /s/ Charles Nichols
27                                                                CHARLES NICHOLS
28                                                                Plaintiff In Pro Per

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1                           CERTIFICATE OF COMPLIANCE
2
3    The undersigned, Charles Nichols, Plaintiff In Pro Per, certifies that this brief
4    contains 24 pages, which complies with the 25 page limit of L.R. 11-6.1 and
5    Section D (page 13) of The Civil Standing Order of Judge Sykes.
6
7
8    Dated: August 21, 2024                                      Respectfully submitted,
9                                                                CHARLES NICHOLS
10
11                                                               /s/ Charles Nichols
12                                                               CHARLES NICHOLS
13                                                               Plaintiff In Pro Per
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        Certificate of Compliance for PLAINTIFF'S OPPOSITION TO DEFENDANTS’ MOTION
      FOR SUMMARY JUDGMENT - Charles Nichols v. Gavin Newsom et al - Case No.: 2:11-cv-
                                        09916 SSS(KES)
